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|\/|organ Stanley

Structured Settlement Summary

 

 

J B<
Date ofBirth - ’2002
November l9, 2013
Estimated
Guaranteed Life
Plan Cost Benefit Benefit
Final $50,000 $84,000 $84,000

Lump sum payments as folloWs:

$20,000.00 payable at age 19 (‘ 2021).
$25,000.00 payable at age 25 (‘ 2027).
$39,000.00 payable at age 30 (‘ 2032).
All lump sum payments Will be paid to either J B¢ or her estate.

 

All ages shown are for illustrative purposes only.
These rates are currently available through Berl<shire Hathaway Life Insurance Company
ofNebrasl<a and are subject to change.

 

 

 

 

The information in this report is based on data supplied by you and is intended to be used as a guide for your financial strategy. The
information and data were obtained from sources deemed reliab|e. Their accuracy or completeness is not guaranteed and subject to
change With current market conditions. There is no guarantee that the figures presented will be attainable in the future. l\/lorgan
Stan|ey Smith Barney LLC and its Financial Advisors and lnvestment Representatives do not offer tax advice. Individua|s should
consult their personal tax advisor before making any tax-related investment decisions.

